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 8                          UNITED STATES DISTRICT COURT

 9                    FOR THE CENTRAL DISTRICT OF CALIFORNIA

10                              April 2022 Grand Jury

11   UNITED STATES OF AMERICA,               ED CR No.    5:23-cr-00006-SSS
12             Plaintiff,                    I N D I C T M E N T

13             v.                            [21 U.S.C. §§ 841(a)(1),
                                             (b)(1)(A)(viii), (b)(1)(C),
14   DANIEL LEE FITE,                        (b)(2): Possession with Intent to
                                             Distribute Controlled Substances;
15             Defendant.                    18 U.S.C. § 922(g)(1): Felon in
16                                           Possession of Firearms and
                                             Ammunition; 21 U.S.C. § 853,
17                                           18 U.S.C. § 924, 28 U.S.C.
                                             § 2461(c): Criminal Forfeiture]
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20        The Grand Jury charges:

21                                     COUNT ONE

22                  [21 U.S.C. §§ 841(a)(1), (b)(1)(A)(viii)]

23        On or about May 18, 2022, in Riverside County, within the

24   Central District of California, defendant DANIEL LEE FITE knowingly

25   and intentionally possessed with intent to distribute at least 50

26   grams, that is, approximately 436.4 grams, of methamphetamine, a

27   Schedule II controlled substance.

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 1                                     COUNT TWO

 2                      [21 U.S.C. §§ 841(a)(1), (b)(1)(C)]

 3        On or about May 18, 2022, in Riverside County, within the

 4   Central District of California, defendant DANIEL LEE FITE knowingly

 5   and intentionally possessed with intent to distribute cocaine base in

 6   the form of crack cocaine, a Schedule II narcotic drug controlled

 7   substance.

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 1                                    COUNT THREE

 2                      [21 U.S.C. §§ 841(a)(1), (b)(1)(C)]

 3        On or about May 18, 2022, in Riverside County, within the

 4   Central District of California, defendant DANIEL LEE FITE knowingly

 5   and intentionally possessed with intent to distribute fentanyl, a

 6   Schedule II narcotic drug controlled substance.

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 1                                     COUNT FOUR

 2                      [21 U.S.C. §§ 841(a)(1), (b)(1)(C)]

 3        On or about May 18, 2022, in Riverside County, within the

 4   Central District of California, defendant DANIEL LEE FITE knowingly

 5   and intentionally possessed with intent to distribute cocaine, a

 6   Schedule II narcotic drug controlled substance.

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 1                                     COUNT FIVE

 2                        [21 U.S.C. §§ 841(a)(1), (b)(2)]

 3        On or about May 18, 2022, in Riverside County, within the

 4   Central District of California, defendant DANIEL LEE FITE knowingly

 5   and intentionally possessed with intent to distribute carisoprodol, a

 6   Schedule IV controlled substance.

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 1                                     COUNT SIX

 2                             [18 U.S.C. § 922(g)(1)]

 3        On or about May 18, 2022, in Riverside County, within the

 4   Central District of California, defendant DANIEL LEE FITE knowingly

 5   possessed the following firearms and ammunition, in and affecting

 6   interstate and foreign commerce:

 7        1.   A Liberty Arms, model 1914 semi-automatic handgun, bearing

 8   serial number 42786;

 9        2.   A Rohm, model 38T revolver, bearing serial number 194366;

10        3.   A G.A.C. revolver U.S. Service CTGS, 3200, bearing serial

11   number 48829; and

12        4.   Approximately 50 rounds of CBC Global .38 caliber

13   ammunition.

14        Defendant FITE possessed such firearms and ammunition knowing

15   that he had previously been convicted of at least one of the

16   following felony crimes, each punishable by a term of imprisonment

17   exceeding one year:

18        1.   Transport or Sell a Controlled Substance, in violation of

19   California Health and Safety Code Section 11352(a), in the Superior

20   Court of the State of California, County of Riverside, case number

21   SWF017226, on or about September 19, 2007; and

22        2.   Own or Rent a Property for Sales and Distribution of a

23   Controlled Substance, in violation of California Health and Safety

24   Code Section 11366.5(a), in the Superior Court of the State of

25   California, County of Riverside, case number SWF015144, on or about

26   September 19, 2007.

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 1                            FORFEITURE ALLEGATION ONE

 2             [21 U.S.C. § 853; 18 U.S.C. § 924; 28 U.S.C. § 2461(c)]

 3        1.     Pursuant to Rule 32.2(a) of the Federal Rules of Criminal

 4   Procedure, notice is hereby given that the United States of America

 5   will seek forfeiture as part of any sentence, pursuant to Title 21,

 6   United States Code, Section 853, Title 18, United States Code,

 7   Section 924, and Title 28, United States Code, Section 2461(c), in

 8   the event of the defendant’s conviction of the offenses set forth in

 9   any of Counts One through Five of this Indictment.

10        2.     The defendant, if so convicted, shall forfeit to the United

11   States of America the following:

12               (a)   All right, title and interest in any and all property,

13   real or personal, constituting or derived from, any proceeds which

14   the defendant obtained, directly or indirectly, from any such

15   offense;

16               (b)   All right, title and interest in any and all property,

17   real or personal, used, or intended to be used, in any manner or

18   part, to commit, or to facilitate the commission of any such offense;

19               (c)   All right, title, and interest in any firearm or

20   ammunition involved in or used in any such offense; and

21               (d)   To the extent such property is not available for

22   forfeiture, a sum of money equal to the total value of the property

23   described in subparagraphs (a), (b), or (c).

24        3.     Pursuant to Title 21, United States Code, Section 853(p),

25   and as incorporated by Title 28, United States Code, Section 2461(c),

26   the defendant, if so convicted, shall forfeit substitute property if,

27   by any act or omission of the defendant, the property described in

28   the preceding paragraph, or any portion thereof: (a) cannot be
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 1   located upon the exercise of due diligence; (b) has been transferred,

 2   sold to, or deposited with a third party; (c) has been placed beyond

 3   the jurisdiction of the court; (d) has been substantially diminished

 4   in value; or (e) has been commingled with other property that cannot

 5   be divided without difficulty.

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 1                            FORFEITURE ALLEGATION TWO

 2               [18 U.S.C. § 924(d)(1) and 28 U.S.C. § 2461(c)]

 3        1.   Pursuant to Rule 32.2 of the Federal Rules of Criminal

 4   Procedure, notice is hereby given that the United States of America

 5   will seek forfeiture as part of any sentence, pursuant to Title 18,

 6   United States Code, Section 924(d)(1), and Title 28, United States

 7   Code, Section 2461(c), in the event of the defendant’s conviction of

 8   the offense set forth in Count Six of this Indictment.

 9        2.   The defendant, if so convicted, shall forfeit to the United

10   States of America the following:

11             (a)   All right, title, and interest in any firearm or

12   ammunition involved in or used in the offense; and

13             (b)   To the extent such property is not available for

14   forfeiture, a sum of money equal to the total value of the property

15   described in subparagraph (a).

16        3.   Pursuant to Title 21, United States Code, Section 853(p),

17   as incorporated by Title 28, United States Code, Section 2461(c), the

18   convicted defendant shall forfeit substitute property, up to the

19   value of the property described in the preceding paragraph if, as the

20   result of any act or omission of said defendant, the property

21   described in the preceding paragraph or any portion thereof (a)

22   cannot be located upon the exercise of due diligence; (b) has been

23   transferred, sold to, or deposited with a third party; (c) has been

24   placed beyond the jurisdiction of the court; (d) has been

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